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IN THE UNITED STATES DISTRlCT COURT
FOR THE DlSTRlCT OF MARYLAND

Scollsdale Capltal Advisors Corp.. el al. *
Plaintiff,

 

cm~o. 8_1§__92§@_9§_

V.

Flnanelal lndustry Regu\atory Authorlly. lnc.
Defendant.

 

TIO ADMI lO PR H CVICE

l, Te"i L~ Reicher , am a member in good standing ol`the bar ofthis

Court, l am moving the admission of Timouthy W- Mountz

to appear pro hac vice in this case as counsel for Financia| 'ndustry Regu|at°ry Auth°"ity- mc-

We certify that:

l. The proposed admittee is not a member of the Maryland bar and does not maintain
any law office in Maryland

2. The proposed admittee is a member in good standing of the bars of the following
State Courts and/or United States Courts:

 

State Coun & Date of Admission U.S. Court & Date of Admission
Supreme Court of Texas, 11/12/1979 United States Supreme Court, 6/17/1996
Washington' D_C_, 10/5/2015 united states conn or Appeav for me an circuit 1011/1931

 

USDC lot the Northem Dlstrict of Texas, 1/17/1980

USDC for the Westem Dlslrict of Texas. 11/19/1987
USDC for the Eastern District of Texasl 8/14/1995

3. During the twelve months immediately preceding this motion, the proposed admittee
has been admitted pro hac vice in this Court 0 times.

4. The proposed admittee has never been disbarred, suspended, or denied admission to
practice law in any jurisdiction. (NOTE: lf the proposed admittee has been
disbarred, suspended, or denied admission to practice law in anyjurisdiction, then
he/she must submit a statement fully explaining all relevant facts.)

5. The proposed admittee is familiar with the Maryland Lawyers’ Rules of Professional
Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
understands he/she shall be subject to the disciplinaryjurisdiction of this Court,

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6. The proposed admittee understands admission pro hac vice is for this case only and
does not constitute formal admission to the bar of this Court.

7. Eithcr the undersigned movant or

 

is also a member of the bar of this Court in good standing, and will serve as co-

counsel in these proceedings

8. The $50.00 fee for admission pro hac vice accompanies this motion.

9. We hereby certify under penalties of perjury that the foregoing statements are true

and correct.

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Sign‘ature
Terri L. Reicher (Bar No. 040209)

Printed name and bar number

 

Financlal lndustry Regulatory Authority, lnc.

 

Oft`lce name

1735 K Street, NW Washington. D.C.. 20006
Address

Terri.Reicher@fmra.org
Email Address

(202) 728-8967

Telephone number

(202) 728-8894

Fax Number

 

 

 

 

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PROPOSED ADMlT'T`EE

 

/’."

Timothy W. Mountz

 

Printed name and bar number

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